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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

EARL PARRIS, JR., Individually,
                            )
and on Behalf of a Class of Persons
                            )
Similarly Situated,         )
                            )
      Plaintiff,            )
                            )
City of SUMMERVILLE,        )
GEORGIA,                    )
                            )
      Intervenor-Plaintiff, )
                            )
vs.                         )                Case No.: 4:21-cv-00040-TWT
                            )
3M COMPANY, DAIKIN          )                TRIAL BY JURY REQUESTED
AMERICA, INC., HUNTSMAN     )
INTERNATIONAL, LLC, PULCRA )
CHEMICALS, LLC, MOUNT       )
VERNON MILLS, INC., TOWN OF )
TRION, GEORGIA, and RYAN    )
DEJUAN JARRETT,             )
                            )
      Defendants.           )

                      COMPLAINT IN INTERVENTION

      COMES NOW, the Intervenor-Plaintiff in this case, the City of Summerville,

Georgia (“Summerville” or “City”), and for its Complaint sets forth as follows:

                         STATEMENT OF THE CASE

      1.    The City of Summerville, Georgia provides water and sewer services

to its customers, which include residential and commercial customers within the

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Summerville city limits. Summerville uses and depends on a freshwater intake on

Raccoon Creek as its primary water source. As a direct and proximate result of the

Defendants’ wrongful acts and omissions, Raccoon Creek has become polluted with

man-made chemicals that are commonly referred to as “forever chemicals” due to

their persistence in the environment: per- and polyfluoroalkyl substances (“PFAS”).

Summerville has been, and continues to be, damaged by the presence of toxic levels

of PFAS in Raccoon Creek.

      2.    Summerville seeks equitable and injunctive relief to compel the

Defendants to remove PFAS from the Summerville drinking water supply and to

remove PFAS contaminated sludge from the Raccoon Creek watershed.

      3.    Summerville also seeks to recover compensatory damages from the

manufacturers and distributors of the PFAS chemicals that have contaminated, and

will continue to contaminate, the City’s water supply and for the costs associated

with removing PFAS from the water.

                         JURISDICTION AND VENUE

      4.    This Court has supplemental jurisdiction over the state law claims in

this action in accordance with 28 U.S.C. § 1367(a), because they are so related to

federal claims in the action within the Court’s original jurisdiction that they form

part of the same case or controversy.


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      5.     Venue is also proper in this Court pursuant to 28 U.S.C. § 1391(b),

because Defendants have conducted substantial business in the Northern District of

Georgia (“this District”) and have caused harm to Intervenor/Summerville and

Proposed Class Members in this District. In addition, Intervenor/Summerville and

Proposed Class Members reside in this District and a substantial part of the events

or omissions giving rise to their claims occurred in this District.

                                      PARTIES

      6.     Intervenor/Summerville—the City of Summerville, Georgia—is a

municipal corporation organized under the laws of the State of Georgia.

Summerville owns land in Chattooga County through which Raccoon Creek flows

and Summerville has a proprietary interest in its water.

      7.     Defendant 3M Company (“3M”) is a foreign corporation authorized to

do business in the State of Georgia, that, at all times relevant hereto, has conducted

business within this District. Among other acts and omissions, Defendant 3M for

many years manufactured and supplied products containing PFAS to Mount Vernon

Mills and other companies in Georgia.

      8.     Defendant Daikin America, Inc. (“Daikin”) is a foreign corporation

with its headquarters in New York, that, at all times relevant hereto, has conducted

business within this District. Among other acts and omissions, Defendant Daikin has


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for many years manufactured and supplied products containing PFAS to Mount

Vernon Mills and other companies in Georgia.

      9.     Defendant Huntsman International, LLC (“Huntsman”), is a foreign

corporation with its headquarters in Texas, authorized to do business in the State of

Georgia, and, at all times relevant hereto, has conducted business in this District.

Among other acts and omissions, Defendant Huntsman has manufactured and

supplied products containing PFAS to Mount Vernon Mills and other companies in

Georgia.

      10.    Defendant Pulcra Chemicals, LLC (“Pulcra”), is a foreign corporation

with its U.S. headquarters in South Carolina, that, at all times relevant hereto, was

conducting business in this District. Among other acts and omissions, Defendant

Pulcra has manufactured and supplied products containing PFAS to Mount Vernon

Mills and other companies in Georgia.

      11.    Mount Vernon Mills, Inc., Town of Trion, Georgia, and Ryan Dejuan

Jarrett are named Defendants in the pending action, and may be considered

necessary parties as that term is construed and applies under Federal law, but

Summerville asserts no legal claims against these three Defendants.




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      12.    Defendants 3M, Daikin, Huntsman, and Pulcra may be referred to in

this Complaint in Intervention as “PFAS Manufacturing Defendants” or

“Defendants.”

                           FACTUAL ALLEGATIONS

      13.    The City of Summerville provides water and sewer service to its

residents and sets charges for providing its services. It is the City’s responsibility to

provide water for consumption and usage by any person who applies for water and

sewer services, makes a security deposit, and becomes obligated to pay water and

sewer rates pursuant to a Rate Schedule established by the City. Among other things,

the Rate Schedule includes costs of building, maintaining, and operating water

collection, treatment, and delivery.

      14.    The City of Summerville owns and operates a water treatment plant,

the Raccoon Creek Water Treatment Facility, located at 1082 Filter Plant Road in

Summerville, Georgia. Summerville provides treated drinking water (“finished

water”) to its residential and commercial customers, which include consumers,

members of consumers’ households, and/or consumers’ employees and customers.

The water processed by Summerville has historically come from Raccoon Creek as

its primary water source. Summerville is the owner of land through which Raccoon




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Creek flows to its filter plant. Summerville is the riparian owner of the water

collected and treated by the City for its residents.

      15.    Summerville has been damaged and continues to be damaged by PFAS

pollution present in Racoon Creek. The term PFAS used herein includes per- and

polyfluoroalkyl substances that are man-made products commonly referred to as

“forever chemicals” because of their persistence in the environment. The PFAS

category    of   substances   includes    perfluorooctanoic   acid   (“PFOA”)    and

perfluorooctane sulfonate (“PFOS”) which have been identified in an Environmental

Protection Agency (“EPA”) Drinking Water Health Advisory since 2016. According

to the EPA Science Advisory Board and the International Agency for Research on

Cancer, PFAS has been linked to various types of illnesses including cancer.

      16.    On January 30, 2020, test data accumulated by the Georgia

Environmental Protection Division (“EPD”) indicated combined levels of PFOA and

PFOS in the finished water (drinking water) from the Racoon Creek treatment plant

the EPA Drinking Water Health Advisory level. In response to this information, and

after consulting with Georgia EPD, the City of Summerville issued a Public Notice

warning its residents about the potential harm that could be caused by drinking water

with PFAS pollutants in excess of the EPA Drinking Water Health Advisory levels.




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      17.    In January 2020, Summerville formally issued a “Notice of Drinking

Water Health Advisory Level Exceedance for Racoon Water Plant,” and thereafter

the City and the Georgia EPD began providing a supply of 5,000 gallons of water in

a tanker to Summerville residents so that they could obtain safe drinking water by

filling containers with water at City Hall. The City of Summerville also provided

pallets of bottled water for its citizens to have another source of drinking water that

was not polluted.

      18.    In order to provide water that is safe to drink, the City of Summerville

must build a Granular Activated Carbon (“GAC”) treatment system or other

sophisticated water filtration system, seek alternative sources for its water, consult

engineers and experts, and search for long-term solutions to address the dangerous

levels of PFAS detected in the City’s water supply. A final, long-term solution has

not yet been made, but the City has expended large sums of money to address the

problem and will continue to spend large sums of money to keep its water safe for

many years to come because of the pollution in Racoon Creek. The City has

sustained substantial identifiable damages resulting from the pollution in Racoon

Creek that is the subject of the litigation pending before this Court.

      19.    The current filtration utilized by Summerville does not eliminate all

PFAS and does not eliminate “short chain” PFAS, which represents an emerging


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area of health concerns for drinking water. An effective long-term solution to

provide clean and safe drinking water is necessary to eliminate dangerous forever

chemicals the Defendants have created and caused to be released into the

environment and specifically Raccoon Creek.

      20.   The International Agency for Research on Cancer (“IARC”) has

classified PFOA as a possible human carcinogen, and EPA has concluded that there

is suggestive evidence of the carcinogenic potential of PFOA in humans.

      21.   PFAS immunotoxicity has been demonstrated in a wide variety of

species and models, including humans, in recent years. For instance, in 2016, the

U.S. Department of Health and Human Service’s National Toxicology Program

(“NTP”), after conducting a systematic review of the evidence pertaining to PFAS

exposure and immune-related health effects, concluded that PFOA and PFOS

constitute a hazard to immune system function in humans.

      22.   On May 19, 2016, EPA published lifetime Drinking Water Health

Advisories for PFOA and PFOS (“May 2016 EPA Health Advisories”).

      23.   The May 2016 EPA Health Advisories state that PFOA and PFOS have

“extremely high” persistence in the environment and the human body, and that the

developing fetus and newborn are “particularly sensitive” to PFOA and PFOS

induced toxicity. According to the May 2016 Health Advisories, a single exposure


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to a developmental toxin at a critical time can produce a persistent adverse effect

that increases with additional exposure.

      24.    In 2018, the Agency for Toxic Substances and Disease Registry

(“ATSDR”) updated its Toxicological Profile and significantly lowered minimum

risk levels (“MRLs”) for both PFOA and PFOS, and using the methods EPA used to

develop its May 2016 EPA Health Advisories, these updated MRLs would translate

to drinking water health advisory levels of approximately 7 parts per trillion (“ppt”)

for PFOA and 11 ppt for PFOS.

      25.    Based on concerns that EPA’s May 2016 Health Advisories are not

protective of human health, numerous states have taken action to pursue stricter

guidelines for PFAS in drinking water, including: Vermont, which established a

health advisory of 20 ppt for any combination of PFOA, PFOS, PFHxS, PFHpA,

and PFNA; New Jersey, which established a MCL for PFNA of 13 ppt, and has

proposed a MCL for PFOA of 14 ppt and PFOS of 13 ppt; New York, which has

recommended adoption of MCLs of 10ppt for PFOA and PFOS; and Michigan,

where a scientific panel has recommended adoption of health advisory for PFOA of

8 ppt and PFOS of 16 ppt.

      26.    The PFAS Manufacturing Defendants have long been aware of the

persistence and toxicity of PFAS, including PFOA and PFOS. These Defendants


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nonetheless knowingly and intentionally sold these chemicals to Mount Vernon

Mills and knew or should have known they would be discharged into the Trion Water

Pollution Control Plant (“WPCP”), where they inevitably concentrate in the sludge

which has been and is being disposed of in a manner that PFAS are discharged to

surface water, including Raccoon Creek, which supplies drinking water to the City

of Summerville and its water subscribers.

      27.   The PFAS Manufacturing Defendants have known for years that PFAS

persist in the environment and accumulate in the bodies of humans, fish, and

animals. For instance, blood tests of 3M workers conducted in 1978 found elevated

organic fluorine levels “proportional to the length of time that had been spent by

employees in the production areas.” The same study found that “laboratory workers,

with former exposure, but none for 15-20 years, had elevated [organic fluorine

levels] above literature normal.” A 1979, 3M study of fish caught by the Wheeler

Dam (26 miles downstream from the 3M manufacturing plant in Decatur, Alabama)

showed that these chemicals bioaccumulate in fish.

      28.   The PFAS Manufacturing Defendants have also known for years that

PFOA, PFOS, and related chemicals are toxic. For instance, a 1978 3M study of the

effects of fluorochemical compounds on Rhesus monkeys was terminated after 20

days because all the monkeys died as a result of exposure to the fluorochemicals. In


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1983, a team of 3M toxicologists recommended broad testing regarding the effects

of 3M’s fluorochemicals on the environment and human beings.

      29.   The PFAS Manufacturing Defendants have known for years that the

disposal of PFAS through discharge into waterways, such as Raccoon Creek, is

unsafe. For instance, a Material Safety Data Sheet (“MSDS”) produced by 3M in

1986 warned that PFOA should be disposed of only through incineration or at

specially designed, properly lined landfills for hazardous chemicals—and not

dumped onto the ground or mixed with soil for farming.

      30.   The PFAS Manufacturing Defendants have known for years that PFAS

are not effectively treated by conventional wastewater treatment plant processes and

are discharged to surface waters in the effluent and accumulate in the sludge from

wastewater treatment processes. For example, in 1978, 3M found that the bacteria

in wastewater treatment plants would not biodegrade PFOA. In 2001, 3M found high

concentrations of these chemicals in samples from the Decatur Utilities wastewater

treatment plant in Decatur, Alabama, effluent and sludge as a result of discharges

from 3M. Both 3M and Daikin have been aware since the early 2000s that their

Decatur, Alabama, manufacturing properties are contaminated with PFAS from the

disposal of wastewater treatment plant sludge on the property years earlier by 3M.




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Daikin has also been aware since at least 2000 that its own wastewater sludge

contains PFAS.

      31.    A 1997 MSDS for a product made by 3M listed its ingredients as water,

PFOA, and other PFAS and warned that the product includes “a chemical which can

cause cancer.” The MSDS cited “1983 and 1993 studies conducted jointly by 3M

and DuPont” as support for this statement.

      32.    In 2006, 3M agreed to pay a $1.5 Million civil penalty for failure to

disclose information to EPA about the health risks and environmental persistence of

PFAS chemicals.

      33.    Defendant Huntsman has been supplying products containing PFAS to

the textile industry since a least 2007, when it acquired part of the PFAS business of

DuPont de Nemours, Inc. (“DuPont”). Upon information and belief, DuPont

provided available information to Huntsman concerning the toxicity and persistence

of PFAS prior to this acquisition.

      34.    Defendant Pulcra has been supplying products containing PFAS to

Mount Vernon since at least 2010. Upon information and belief, Pulcra has known

about the toxicity and persistence of PFAS since at least 2000.

      35.    Upon information and belief, the PFAS Manufacturing Defendants

have long been aware of the persistence and toxicity of PFAS, at least as a result of


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communications among the PFAS Manufacturing Defendants and trade

associations, as well as the EPA and EPD. At least since 2000, the persistence and

toxicity of PFAS has been widely published.

      36.    Upon information and belief, the PFAS Manufacturing Defendants and

Mount Vernon knew or should have known that, in their intended and/or common

use, products containing PFAS would very likely caused harm and injury, and/or

threaten public health and environment.

      37.    Upon information and belief, Defendants knew or should have known

that PFAS are mobile and persistent, bioaccumulative, biomagnifying, and toxic.

These Defendants nonetheless concealed their knowledge from the public and

government agencies resulting in the contamination of the Summerville water supply

with PFAS.

      38.    On October 12, 2020, the City Summerville executed a Resolution

regarding Summerville’s water supply, finding and declaring the existence of a

public nuisance that threatens the health and safety of the community and the long-

term sustainability of the water supply for the City of Summerville. (See Resolution

Regarding City of Summerville Water Supply, October 12, 2020, attached hereto as

Exhibit A). According to the Resolution, the City of Summerville shall pursue such




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legal action as is available against the manufacturers, distributors, and others as

necessary to the full extent available under the law. (See Ex. A.)

                                   COUNT ONE
                                    Negligence

      39.    Summerville incorporates Paragraphs 13 through 38 by reference as if

fully set forth herein.

      40.    As manufacturers, suppliers, sellers, users, disposers, and/or

dischargers of PFAS, products containing PFAS, and/or products manufactured

using PFAS, Defendants owe a duty to Summerville, as well as to all persons whom

Defendants’ PFAS might foreseeably harm, in their supply, sale, use, and disposal

of PFAS.

      41.    Defendants owe a duty to Intervenor/Summerville, as well as to all

persons whom Defendants’ PFAS might foreseeably harm, to exercise due and

reasonable care in their manufacturing and chemical supply operations to prevent

the discharge of toxic PFAS into the Summerville water supply.

      42.    The City of Summerville has a reasonable expectation that Defendants

would avoid contaminating Summerville’s water, Summerville’s property, and the

surrounding environment—an expectation that extends to the pollution of the area’s

water supply.




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      43.    The Georgia Water Quality Control Act regulations specify that all

waters of the State of Georgia shall be free from: “industrial waste or other

discharges in amounts sufficient to be unsightly or to interfere with legitimate water

uses” Ga. Comp. R. & Regs. § 391-3-6-.03(5)(b); “industrial or other discharges

which produce turbidity, color, odor or other objectionable conditions which

interfere with legitimate water uses” Ga. Comp. R. & Regs. § 391-3-6-.03(5)(c);

“toxic, corrosive, acidic and caustic substances discharged from . . . industries or

other sources, such as nonpoint sources, in amounts, concentrations or combinations

which are harmful to humans, animals or aquatic life” Ga. Comp. R. & Regs. § 391-

3-6-.03(5)(e).

      44.    Pursuant to O.C.G.A. § 12-5-51, Defendants owe a duty Summerville,

as well as to all persons whom Defendants’ PFAS might foreseeably harm, to avoid

intentionally or negligently causing or permitting any sewage, industrial wastes,

other wastes, or other substance or substances to be discharged or deposited in the

waters of the State of Georgia.

      45.    Defendants breached the duties owed to Summerville, and under the

circumstances, Defendants’ breaches constitute negligent, willful, and/or reckless

conduct.




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      46.    Defendants knew or should have known that exposure to PFAS and

water contaminated by PFAS is hazardous to human health and the environment,

including animals, birds and aquatic life.

      47.    As a direct, proximate, and foreseeable result of the Defendants’

conduct, practices, actions, and inactions, Summerville has incurred expenses and

will incur reasonably ascertainable expenditures in the future and has and will

continue to suffer damage to its real property and proprietary interest in its water

supply.

      WHEREFORE          PREMISES       CONSIDERED,          Summerville   demands

judgment for compensatory damages against Defendants in an amount to be

determined by a struck jury, past and future, plus interest and costs.

                                  COUNT TWO
                                  Public Nuisance

      48.    Summerville re-alleges Paragraphs 13 through 38 as if set forth fully

herein.

      49.    Summerville owns and occupies property used to serve its water

customers, including a water intake site, water treatment plant, water distribution

system, and offices.

      50.    Summerville owns land and water rights which permit it to draw water

from Raccoon Creek to provide drinking water to its customers.

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      51.    Summerville provides drinking water to its customers from its water

supply that is used for drinking, bathing, cleaning, washing, cooking, watering

vegetables, and other uses.

      52.    Summerville and the members of the public have a right to have their

water remain clean, safe, and free of Defendants’ toxic contamination.

      53.    The PFAS Manufacturing Defendants have created a continuous

nuisance by selling and supplying PFAS to Mount Vernon without adequate

warnings of its nonobvious dangers and disposal requirements, and Defendant

Mount Vernon and has also created this nuisance by its past and/or continuing

discharge of PFAS into the Trion WPCP and Raccoon Creek and related tributaries

and watersheds, respectively, which has caused contamination of Summerville’s

water supply and consequent damage and inconvenience.

      54.    The contamination caused by the Defendants unreasonably interferes

with a right common to the general public—i.e., the right to use and enjoy the waters

of Raccoon Creek (e.g., for fishing, navigation, recreation, and drinking)—and

unreasonably interferes with public health.

      55.    All who come within the sphere of operation of the Defendants’ PFAS

pollution of Raccoon Creek are hurt, inconvenienced, or damaged. The harm caused

by Defendants’ conduct is not fanciful, or such as would affect only one of fastidious


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taste; rather, Defendants’ conduct is such that it affects ordinary, reasonable persons.

See O.C.G.A. § 41-1-1.

      56.    The special damages incurred by Summerville include, but are not

limited to, damage to Summerville’s water and its proprietary and ownership interest

in its water, expenses associated with mitigation and remediation, including the

installation of emergency temporary filtration; the future installation and operation

of a permanent filtration system capable of removing Defendants’ PFAS from the

water; expenses incurred to test and monitor PFAS contamination levels; and lost

revenue and sales.

      57.    In addition to the special damages sustained by Summerville, the levels

of toxic chemical contamination found in the Summerville’s water supply, directly

caused by the Defendants’ pollution, have created a condition that threatens the

health and well-being of Summerville’s customers.

      58.    It was reasonably foreseeable, and in fact known to the Defendants, that

their actions would place, have placed, and will continue to place, Summerville at

risk of harm. The nuisance is continuous and has caused substantial damages and

will continue to cause damages until it is satisfactorily abated.

      59.    Defendants knew it was substantially certain that their acts and

omissions described above would cause Summerville’s water supply to become


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contaminated by PFAS. Defendants have acted with a conscious indifference to the

probable dangerous consequences of their actions and the reasonably foreseeable

impact such actions would have on public health and welfare.

      WHEREFORE          PREMISES        CONSIDERED,         Summerville       demands

judgment for compensatory and punitive damages against Defendants in an amount

to be determined by a struck jury, past and future, plus interest and costs.

                                 COUNT THREE
                                 Private Nuisance

      60.    Summerville re-alleges Paragraphs 13 through 38 as if set forth fully

herein.

      61.    Summerville is the owner of land located at 1082 Filter Plant Road

along with water rights that permit Summerville to draw water from Raccoon Creek

to provide drinking water to its customers.

      62.    Defendants’ intentional, negligent, and/or reckless conduct, as alleged

herein, has resulted in substantial contamination of Summerville’s water supply by

PFAS which cause adverse human health effects and render water undrinkable.

      63.    The contamination caused, contributed to, and/or maintained by

Defendants substantially and unreasonably interferes with Summerville’s property

rights to appropriate, use, and enjoy water from Raccoon Creek.




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      64.    The PFAS Manufacturing Defendants have created a nuisance by

selling and supplying PFAS to Mount Vernon without adequate warnings of its

nonobvious dangers and disposal requirements, and Defendant Mount Vernon has

also created this nuisance by its past and/or continuing discharge of PFAS into the

Trion WPCP and Raccoon Creek and related tributaries and watersheds,

respectively, which has caused contamination of Summerville’s water supply and

consequent damage and inconvenience.

      65.    Each Defendant has caused, contributed to, and/or maintained such

nuisance, and is a substantial contributor to such nuisance.

      66.    As a direct and proximate result of Defendants’ acts and omissions as

alleged herein, Summerville has incurred, is incurring, and will continue to incur

damages arising from the PFAS contamination of Summerville’s water supply.

      67.    Defendants knew it was substantially certain that their acts and

omissions described above would cause injury and damage to Summerville’s

property, including PFAS contamination of Summerville’s water supply.

Defendants committed each of the above-described acts and omissions willfully and

with malice, fraud, wantonness, oppression, or that entire want of care which would

raise the presumption of conscious indifference to consequences in order to promote

sales of their products (the PFAS themselves, as well as products containing PFAS


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and/or products for which PFAS were used in the manufacturing process). Thus,

Summerville demands an award of punitive damages because of the aggravating

circumstances alleged herein in order to penalize, punish, and deter Defendants’

conduct.

      68.    The contamination of the water at Summerville’s intake site has caused

damage to property owned by the City of Summerville and constitutes a private

nuisance, interfering with Summerville’s property interests and depriving

Summerville of its ability to deliver clean and uncontaminated water to its

customers.

      69.    It was reasonably foreseeable, and in fact known to Defendants, that

their actions would contaminate, and have contaminated, the water at Summerville’s

intake site. The nuisance has caused substantial damages and will continue to cause

damages until it is satisfactorily abated.

      WHEREFORE           PREMISES       CONSIDERED,         Summerville       demands

judgment for compensatory and punitive damages against Defendants in an amount

to be determined by a struck jury, past and future, plus interest and costs.

                                  COUNT FOUR
                               Abatement of Nuisance

      70.    Summervilles re-allege Paragraphs 13 through 38 as if set forth fully

herein.

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      71.   Pursuant to O.C.G.A. §§ 41-2-1 and 41-2-2, Summerville has the right

to bring an action to abate the nuisance caused by Defendants’ manufacture, use,

purchase, sale, supply, disposal, discharge, and/or release of PFAS which has caused

and continues to cause contamination of Summerville’s water supply.

      72.   In addition to its claims for damages, Summerville is entitled to an

injunction to abate the nuisance created and maintained by Defendants. The Court

should issue an injunction requiring Defendants to remove their chemicals and

toxins from the water supplies of Summerville and/or fund the measures necessary

to prevent these chemicals and toxins from continuing to contaminate Summerville’s

water supply, based on the continuing irreparable injury to Summerville posed by

the continuing nuisance and damage to Summerville’s property interests, for which

there is no adequate remedy at law.

      WHEREFORE         PREMISES       CONSIDERED,         Summerville     demands

abatement of the nuisance caused by Defendants.

                                  COUNT FIVE
                                    Trespass

      73.   Summerville re-alleges Paragraphs 13 through 38 as if set forth fully

herein.




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      74.    Summerville owns and occupies property used to serve its water

customers and other water utilities, including a water intake site, water treatment

plant, water distribution system, and offices.

      75.    Summerville owns land and water rights which permit it to draw water

from Raccoon Creek to provide drinking water to its customers.

      76.    Under O.C.G.A. § 51-9-7, “the owner of land through which non-

navigable watercourses flow is entitled to have the water in such streams come to it

in its natural and usual flow,” and “the polluting thereof so as to lessen its value to

the owner of such land shall constitute a trespass upon the property.”

      77.    As the landowner, Summerville is entitled to water that is clean, safe,

and free of Defendants’ pollution and toxic contamination at the time such water is

drawn from Raccoon Creek at Summerville’s water intake site.

      78.    Defendants’ intentional or wanton acts in manufacturing, supplying,

disposing and discharging PFAS knowing that they would contaminate the water

supply and flow downstream, caused an invasion of Summerville’s property by

Defendants’ chemicals, which has affected and is affecting Summerville’s interest

in the exclusive possession of its property.




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      79.    Defendants’ conduct has resulted in substantial contamination and

pollution of Summerville’s water supply by PFAS and constitutes trespass upon

Summerville’s property.

      80.    Defendants’ PFAS have migrated and spread since they initially

entered Summerville’s water supply. These PFAS will continue to migrate and

spread.

      81.    Summerville did not consent to the invasion of its property by

Defendants’ PFAS.

      82.    Defendants knew or should have known that their manufacture, use,

purchase, sale, supply, discharge, and/or release of PFAS could contaminate the

water supply and result in an invasion of Summerville’s possessory interest in its

property.

      83.    Defendants’ trespass is continuing.

      84.    Defendants’ continuing trespass has impaired Summerville’s use of its

property and has caused it damages by diminishing its value.

      WHEREFORE           PREMISES      CONSIDERED,          Summerville   demands

judgment for compensatory damages against Defendants in an amount to be

determined by a struck jury, past and future, plus interest and costs.




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                                COUNT SIX
                       Wantonness and Punitive Damages

      85.    Summerville re-alleges Paragraphs 13 through 38 as if restated herein.

      86.    As manufacturers, suppliers, sellers, users, disposers, and/or

dischargers of PFAS, products containing PFAS, and/or products manufactured

using PFAS, Defendants owe a duty to Summerville, as well as to all persons whom

Defendants’ PFAS might foreseeably harm, in their sale, supply, use, disposal, and

discharge of PFAS.

      87.    Defendants owe a duty to Summerville, as well as to all persons who

Defendants’ PFAS might foreseeably harm, to exercise due and reasonable care in

their chemical manufacturing and chemical supply operations as well as their carpet

manufacturing operations to prevent the discharge of toxic PFAS into the

Summerville water supply.

      88.    The City of Summerville has a reasonable expectation that Defendants

avoid contaminating Summerville’s water, Summerville’s property, and the

surrounding environment—an expectation that extends to the pollution of the area’s

water supply.

      89.    The Georgia Water Quality Control Act regulations specify that all

waters of the State of Georgia shall be free from: “industrial waste or other

discharges in amounts sufficient to be unsightly or to interfere with legitimate water

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uses” Ga. Comp. R. & Regs. § 391-3-6-.03(5)(b); “industrial or other discharges

which produce turbidity, color, odor or other objectionable conditions which

interfere with legitimate water uses” Ga. Comp. R. & Regs. § 391-3-6-.03(5)(c);

“toxic, corrosive, acidic and caustic substances discharged from . . . industries or

other sources, such as nonpoint sources, in amounts, concentrations or combinations

which are harmful to humans, animals or aquatic life” Ga. Comp. R. & Regs. § 391-

3-6-.03(5)(e).

      90.    Pursuant to O.C.G.A. § 12-5-51, Defendants owe a duty to

Summerville, as well as to all persons whom Defendants’ PFAS might foreseeably

harm, to avoid intentionally or negligently causing or permitting any sewage,

industrial wastes, other wastes, or other substance or substances to be discharged or

deposited in the waters of the State of Georgia.

      91.    In breaching the duties described above, Defendants acted in a willful

or wanton and reckless manner.

      92.    Defendants knew or should have known of the dangers PFAS poses to

the environment, water and human health and its disposal requirements to safeguard

against those serious risks of harm.

      93.    Defendants knew or should have known the danger to Summerville

created by Defendants’ conduct, practices, actions, and inactions.


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      94.    Defendants knew or should have known of the likely impact, harm,

damage, and injury their conduct would have on Summerville.

      95.    Defendants’ conduct, practices, and inactions evidence Defendants’

reckless disregard for Summerville’s property.

      WHEREFORE           PREMISES       CONSIDERED,          Summerville   demands

judgment for punitive damages against Defendants in an amount to be determined

by a struck jury, past and future, plus interest and costs.

                                  COUNT SEVEN
                                  Injunctive Relief

      96.    Summerville re-alleges Paragraphs 13 through 38 as if set forth fully

herein.

      97.    Summerville requests that this Court enter an Order enjoining

Defendants from continuing the conduct described above and requiring Defendants

to take all steps necessary to remove their chemicals from Summerville’s water

supply and property.

      98.    There is continuing irreparable injury to Summerville if an injunction

does not issue, as Defendants’ chemicals in its water supplies pose a continuing

threat to Summerville, and there is no adequate remedy at law.

      WHEREFORE           PREMISES       CONSIDERED,          Summerville   demands

injunctive relief against Defendants,        requiring Defendants to remove their

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chemicals from Summerville’s water system and to prevent these chemicals from

continuing to contaminate Summerville’s water supply.

                               COUNT EIGHT
                   Attorneys’ Fees and Expenses of Litigation

      99.    Summerville re-alleges Paragraphs 13 through 38 as if set forth fully

herein.

      100. Defendants have acted in bad faith, have been stubbornly litigious, and

have caused Summerville unnecessary trouble and expense such that Summerville

is entitled to recover its attorneys’ fees and other expenses of litigation pursuant to

O.C.G.A. § 13-6-11.

                                COUNT NINE
                       Georgia Water Quality Control Act

      101. Summerville re-alleges Paragraphs 12 through 36 as if set forth fully

herein.

      102. Under O.C.G.A. § 12-5-51, “any person who intentionally or

negligently causes or permits any sewage, industrial wastes, or other wastes, oil,

scum, floating debris, or other substance or substances to be spilled, discharged, or

deposited in the waters of the state, resulting in a condition of pollution as defined

by this article, shall be liable in damages to the state and any political subdivision




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thereof for any and all costs, expenses, and injuries occasioned by such spills,

discharges, or deposits.”

      103. Each Defendant is a “person” within the meaning of O.C.G.A. § 12-5-

51.

      104. Defendants intentionally or wantonly and/or negligently caused or

permitted PFAS to be deposited into Raccoon Creek, resulting in a condition of

pollution as defined by Georgia Code Title 12, Chapter 5, Article 2.

      105. PFAS are industrial wastes within the meaning of O.C.G.A. § 12-5-51.

      106. The amount of the damages assessed pursuant to O.C.G.A. § 12-5-51

“shall include, but shall not be limited to, any costs and expenses reasonably incurred

by the state or any political subdivision thereof, as the case may be, in cleaning up

and abating such spills, discharges, or deposits, and any costs and expenses

reasonably incurred in replacing aquatic life destroyed by such spills, discharges, or

deposits. . . . Damages to a political subdivision shall be recoverable in a civil action

instituted by such subdivision.”

      107. The City of Summerville is a municipal corporation organized and

chartered under the laws of the State of Georgia.




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      108. As a direct and proximate result of Defendants’ conduct, Summerville

has incurred, and will continue to incur, damages including, but not limited to, the

costs and expenses set forth in O.C.G.A. § 12-5-51.

      WHEREFORE         PREMISES        CONSIDERED,        Summerville     demands

judgment for statutory damages assessed pursuant to O.C.G.A § 12-5-51 against

Defendants in an amount to be determined by a struck jury, past and future, plus

interest and costs.

                                 COUNT TEN
                           Negligent Failure to Warn

      109. Summerville re-alleges Paragraphs 13 through 38 as if set forth fully

herein.

      110. The PFAS Manufacturing Defendants have a duty to warn of the

nonobvious dangers associated with PFAS and its disposal, and Defendants owe this

duty to the users of their chemicals and those to whom they supply PFAS, including

Defendant Mount Vernon. Defendants also owe this duty to Defendant Trion and

Summerville as those who may be foreseeably, unreasonably harmed by PFAS.

      111. Defendants have a duty to warn of the dangers associated with PFAS

that is commensurate with the inherently dangerous, harmful, injurious,

environmentally persistent, water soluble, and highly mobile, toxic, and bio-

accumulative nature of the chemicals.

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      112. Defendants’ failure to warn permitted, allowed, and/or otherwise

resulted in the contamination of the Summerville public drinking water supply.

      113. The PFAS Manufacturing Defendants knew, foresaw, anticipated,

and/or should have foreseen, anticipated, and/or known that their manufacture, sale,

and supply of PFAS to Mount Vernon without adequate warnings of its dangers

would likely result in the contamination of the Summerville public drinking water

supply.

      114. Despite knowing, anticipating, and/or foreseeing the bio-persistent,

bio-accumulative, toxic, and/or otherwise harmful and/or injurious nature of PFAS,

Defendants failed to warn Mount Vernon, Trion, and Summerville of the dangers

associated with PFAS.

      115. Defendants, through their acts and/or omissions as described in this

Complaint, breached their duty by failing to warn Mount Vernon, Trion, and

Summerville of the dangers associated with PFAS.

      116. It was reasonably foreseeable to Defendants that Summerville and its

citizens would suffer the injuries and harm described in this Complaint by virtue of

Defendants’ breach of their duty to warn.

      117. But for Defendants’ negligent failure to warn, Summerville would not

have been injured or harmed. Furthermore, as described throughout this Complaint,


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Defendants’ acts and/or omissions were also done maliciously or with knowledge of

a high degree of probability of harm and reckless indifference to the consequences

to Summerville.

      118. Defendants’ negligent conduct was the direct and proximate cause of

the injuries and harm to Summerville as described herein.

      119. As a direct, proximate, and foreseeable result of Defendants’ conduct,

practices, actions, and inactions, the City of Summerville has been caused to suffer,

and will continue to suffer damage to real and personal property and losses for the

costs of filtering PFAS from drinking water and other damages to be proved at trial.

                              RELIEF DEMANDED

      WHEREFORE, Summerville respectfully requests this Court grant the

following relief:

      a) Enter Judgment in its favor;

      b) Award Summerville damages in an amount to be determined by a jury

          sufficient to compensate it for real property damage, out-of-pocket

          expenses, lost profits and sales, and future expenses;

      c) Issue an injunction requiring Defendants to abate their nuisance and/or

          otherwise remove their chemicals from Summerville’s water supply and to




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    prevent these chemicals from continuing to contaminate Summerville’s

    water supply;

 d) Award punitive damages;

 e) Award attorney fees and costs and expenses incurred in connection with

    the litigation of this matter; and

 f) Award such other and further relief as this Court may deem just, proper,

    and equitable.

                            JURY DEMAND

SUMMERVILLE HEREBY DEMANDS A TRIAL BY JURY ON ALL
              ISSUES OF THIS CAUSE.


 Respectfully submitted this the ____ day of April, 2021.

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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.




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                         CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Complaint in Intervention has been filed
electronically with the Clerk of Court by using the CM/ECF system which will
automatically email all counsel of record on this _____ day of April, 2021.

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